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BY ECF:

January 11, 2021

Honorable Kimba Wood

United States District Court Judge
United States Courthouse

500 Pearl Street

New York,NY 10007 MEMO ENDORSED

Re: United States v, Anthony Melo,
19 Cr 821 (KMW)

Your Honor,

I am writing on behalf of the defendant, Anthony Melo who as the Court is aware, is
released on a $100,000.00 Bond, co-signed by three members of his family and is on home
detention with electronic monitoring. Since his release from custody Mr. Melo has fulfilled

all of pre-trial release requirements. Mr. Melo would most respectfully request permission

to leave his home and go to his grandmother's house located at 609 West 196 Street. #3F, L ted
New York, New York 10040 on Saturday, January 16" from 3:00PM to 10:00PM. The (|
family is holding a very small family gathering to celebrate his birthday. His grandmother

cannot come to his house because she is afraid to venture outside due to the pandemic.

The only people in attendance at the gathering will be Anthony, his mother, his brother and

sister and her children. I understand that we are in a Covid crisis but this is a small
gathering with people who have been seeing each other so the risk of Covid spread is small.

I have reached out to the Government and his Pre-Trial Officer, Keyana Pompey and both of

them responded by taking no position on the request. I respectfully beg the Court to allow

the visit as this is the only way Anthony can see his grandmother as she cannot venture

outside due to the pandemic. We are in unique times and I ask the Court to show Anthony

some mercy and allow him to make this visit.

His mother who was appointed by the Court as a Third Party Guardian will be with him the
entire time. Thus, | would respectfully request that the Court grant the above request.
Thank you very much for your consideration of this matter

Re tfully yours,
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SO ORDERED: N.Y.,N.Y | [ufo
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KIMBA M. WOOD
U.S.D.J.
